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                                                                  FILED: January 5, 2022


                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT

                                           ___________________

                                               No. 21-1141 (L)
                                            (0:17-cv-02094-JMC)
                                           ___________________

        HARRY PENNINGTON, III; TIMOTHY LORENTZ, on behalf of themselves
        and all others similarly situated

                       Plaintiffs - Appellants

        v.

        FLUOR CORPORATION; FLUOR ENTERPRISES, INC.; SCANA
        CORPORATION; FLUOR DANIEL MAINTENANCE SERVICES, INC.;
        SOUTH CAROLINA ELECTRIC & GAS COMPANY

                       Defendants - Appellees

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        ASSOCIATED BUILDERS AND CONTRACTORS, INC.; ASSOCIATED
        GENERAL CONTRACTORS OF AMERICA, INC.; SOUTH CAROLINA
        CHAMBER OF COMMERCE; CHAMBER OF COMMERCE OF THE
        UNITED STATES OF AMERICA

                       Amici Supporting Appellees

                                           ___________________

                                                 No. 21-1143
                                            (0:17-cv-02201-JMC)
                                           ___________________
           0:17-cv-02201-JMC Date Filed 01/05/22 Entry Number 248           Page 2 of 2
USCA4 Appeal: 21-1141  Doc: 86     Filed: 01/05/2022  Pg: 2 of 2


        LAWRENCE BUTLER; LAKEISHA DARWISH; JIMI CHE SUTTON

                       Plaintiffs - Appellants

        v.

        FLUOR CORPORATION; FLUOR ENTERPRISES, INC.

                       Defendants - Appellees

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        ASSOCIATED BUILDERS AND CONTRACTORS, INC.; ASSOCIATED
        GENERAL CONTRACTORS OF AMERICA, INC.; SOUTH CAROLINA
        CHAMBER OF COMMERCE; CHAMBER OF COMMERCE OF THE
        UNITED STATES OF AMERICA

                       Amici Supporting Appellees

                                         ___________________

                                            MANDATE
                                         ___________________

               The judgment of this court, entered November 30, 2021, takes effect today.

               This constitutes the formal mandate of this court issued pursuant to Rule

        41(a) of the Federal Rules of Appellate Procedure.


                                                                /s/Patricia S. Connor, Clerk
